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                                                                                FILED
                                                                              us DIST~ICT COURT
                                                                          EASTERN DiSTRICT AFIKANSAS

                      IN THE UNITED STATES DISTRICT COURT JUl 2 32010
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION       JA~E~I1~K
                                                                    By.   ~                   DEP Cl.ERK


UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                   NO. 4:05CR00054-02 JLH

DUSTIN BRADBURY                                                                    DEFENDANT


              AMENDMENT TO .JUDGMENT & COMMITMENT ORDER

       The Court directs that the cover letter from Assistant Federal Public Defender Kim Driggers

along with the medical and mental health records provided, be forwarded to the United States

Probation Office for dissemination to the Bureau of Prisons to assist in determining proper

designation for Mr. Bradbury.

       All other conditions contained in the original Judgment & Commitment remain in full force

and effect.

       IT IS SO ORDERED this _l-_y_dJ
                                   __ day of July, 2010.
